                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                  NORTHERN DIVISION
                                     2: 10-CR-21-FL-2


 UNITED STATES OF AMERICA                        )
                                                 )
                v.                               )     ORDER OF DETENTION PENDING
                                                 )                TRIAL
 RONALD RAY BONDS,                               )
                                                 )
                Defendant.                       )

       This case came before the court today for hearing on the government's motion, pursuant to

18 U.S.C. § 3142(f), to detain defendant pending trial. At the hearing, defendant presented no

evidence. At the court's request, counsel for the government provided a proffer of the evidence

supporting its case, which includes the facts set out below. For the reasons stated below, the

government's motion is GRANTED.

                                           Background

       Defendant was indicted on 22 July 2010 for conspiracy to possess with the intent to

distribute more than 50 grams ofcocaine base and more than 500 grams ofcocaine within 1,000 feet

of the real property comprising a public or private school or playground from in or about January

2008 until the date of indictment, in violation of 21 U.S.C. § 846 and 860 (count 1). He is also

charged with two substantive counts of distribution on 28 October 2009 (count 2) and 3 April 2010

(count 3), respectively. The evidence proffered by the government showed that defendant served

as an assistant to his co-defendant in the production and distribution of drugs at the co-defendant's

home, which is located within 1,000 feet of a playground or school. The government's evidence

includes statements by cooperating informants and controlled purchases from defendants.




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                                              Discussion

        Based on the charges in the indictment, the case is subject to the rebuttable presumption in

18 U.S.c. § 3142(e)(3). The court finds that defendant failed to rebut the presumption of detention.

In accordance with this presumption, the court finds that there is no condition or combination of

conditions that will reasonably assure the appearance of defendant as required and the safety of any

other person or the community before trial.

        Even absent a determination that the presumption was not rebutted, the court finds that the

government's proffer together with the pretrial services report shows by clear and convincing

evidence that there is no condition or combination of conditions that would reasonably assure the

safety of any other person and the community before trial if defendant were released. The basis for

this alternative determination includes: the strength ofthe case against defendant; the drug-related

nature of the offenses and the recency of the second alleged distribution; defendant's commission

of eight offenses while on probation; and the substantial sentence defendant will likely receive if

convicted.

                                            Conclusion

       IT IS THEREFORE ORDERED that defendant is committed to the custody ofthe Attorney

General or his designated representative for confinement in a corrections facility separate, to the

extent practicable, from persons awaiting or serving sentences or being held in custody pending

appeal. Defendant shall be afforded a reasonable opportunity for private consultation with defense

counsel. On order of a court of the United States or on request of an attorney for the government,

the person in charge of the corrections facility shall deliver defendant to the United States Marshal

for the purpose of an appearance in connection with a court proceeding.




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This, the 16th day of August 2010.




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